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                                CERTIFICATE OF SERVICE


               I, Ann C. Cordo, certify that I am not less than 18 years of age, and that service of

the foregoing Seventeenth Interim Application Of Huron Consulting Group As Accounting

And Restructuring Consultant To Debtors And Debtors-In-Possession, For Allowance Of

Interim Compensation And For Interim Reimbursement Of All Actual And Necessary

Expenses Incurred For The Period June 1, 2010 Through June 30, 2010 was caused to be

made on July 21, 2010, in the manner indicated upon the entities identified below.


Date: July 21, 2010                                        /s/ Ann C. Cordo
                                                     Ann C. Cordo (No. 4817)


VIA HAND DELIVERY                                 VIA FIRST CLASS MAIL

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